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                               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                          www.flsb.uscourts.gov
                                              CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                           Original Plan
                                                                  Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                        ■    Third                                Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Fidel Flamini                                  JOINT DEBTOR:                                         CASE NO.: 18-24148-LMI
SS#: xxx-xx- 5151                                         SS#: xxx-xx-
I.          NOTICES
            To Debtors:         Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                                and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                                Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                                filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:       Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                be reduced, modified or eliminated.
            To All Parties:     The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                                box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                    Included           ■   Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                    Included           ■   Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                                   Included           ■   Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $2,642.70           for months    1    to 18 ;

                   2.   $14,486.82          for months 19 to 20 ;

                   3.   $12,968.49          for months 21 to 84 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                              NONE       PRO BONO
        Total Fees:              $7725.00           Total Paid:            $1417.00             Balance Due:            $6308.00
        Payable             $193.06         /month (Months 1      to 18 )
        Payable             $1,416.50       /month (Months 19 to 20 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $3,650.00 Attorney fees and cost, $2500.00 MMM, M2mod $525.00x2, Motion to Transfer Title $525.00

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:                NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
         1. Creditor: MTGLQ Investors, LP
              Address: c/o Rushmore Loan                  Arrearage/ Payoff on Petition Date   365357.92 +1644.00 post petition fees
                       Management Services,
                                                          Regular Payment (Maintain)                    $1,352.40      /month (Months      1   to 18 )
                       LLC P.O Box 52708,
                       Irvine, CA 92619-2708              Arrears Payment (Cure)                         $965.01       /month (Months      1   to 18 )


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                                                                             Debtor(s): Fidel Flamini                                 Case number: 18-24148-LMI
         Last 4 Digits of                1327                    Arrears Payment (Cure)                           $5,297.45        /month (Months 19    to 84 )
                                                                 Regular Payment (Maintain)                       $6,324.19        /month (Months 19    to 84 )

        Other:

         ■   Real Property                                                             Check one below for Real Property:
                 ■ Principal     Residence                                              ■     Escrow is included in the regular payments
                       Other Real Property                                                    The debtor(s) will pay       taxes       insurance directly
         Address of Collateral:
         8010 Old Cutler Road Miami, FL 33143

             Personal Property/Vehicle
         Description of Collateral:
             B. VALUATION OF COLLATERAL:                          ■   NONE
             C. LIEN AVOIDANCE                  ■    NONE
             D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
                distribution fom the Chapter 13 Trustee.
                       ■   NONE
             E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
                fom the Chapter 13 Trustee.
                           NONE
                       ■   The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                           confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                           codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                          Name of Creditor             Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                          Continental National Bank of 3335                         8010 Old Cutler Road Miami, FL 33143
                       1. Miami
                          Santander Consumer USA, 8012                                            2013 Subaru Forester, VIN: JF2SHAFC2DH438293
                       2. Inc., an Illinois corporation d/
                          b/a Chrysler Capital
IV.          TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
             A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                             ■   NONE
             B. INTERNAL REVENUE SERVICE:                         ■   NONE
             C. DOMESTIC SUPPORT OBLIGATION(S):                          ■    NONE
             D. OTHER:            ■   NONE
V.           TREATMENT OF UNSECURED NONPRIORITY CREDITORS
               A. Pay              $50.00           /month (Months 21        to 84 )
                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.      ■   If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                     ■    NONE
               *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
               creditors pursuant to 11 U.S.C. § 1322.
VI.          EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
             section shall not receive a distribution from the Chapter 13 Trustee.
                       ■   NONE
VII.         INCOME TAX RETURNS AND REFUNDS:                              NONE


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                                                                          Debtor(s): Fidel Flamini                          Case number: 18-24148-LMI
                       ■   The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                           annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
                           Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                           provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                           increases by more than 3% over the previous year’s income. [Miami cases]
VIII.       NON-STANDARD PLAN PROVISIONS                        ■   NONE


                           PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                                Debtor                                                               Joint Debtor
  Fidel Flamini                                                  Date                                                                       Date



  /s/ Rachamin "Rocky" Cohen                        June 8, 2020
    Attorney with permission to sign on                        Date
             Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




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